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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

GLYNN HARTT, individually and on behalf
of all others similarly situated,

Plaintiff
vs.
FLAGSHIP CREDIT CORPORATION,

Defendant.

 

 

CIVIL ACTION NO. 10-CV-00822(NS)

PLAINTIFF’S MOTION FOR FINAL APPROVAL
OF CLASS ACTION SETTLEMENT

PLAINTIFF’S MEMORANDUM OF LAW IN
SUPPORT THEREOF

Dated: 3/30/11

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

GLYNN HARTT, individually and on behalf
of all others similarly situated,

Plaintiff
VS. CIVIL ACTION NO. 10-CV-00822(NS)

FLAGSHIP CREDIT CORPORATION,

 

Defendant.

 

PLAINTIFF’S MOTION FOR FINAL APPROVAL
OF CLASS ACTION SETTLEMENT

Pursuant to F. R. Civ. P. 23, Plaintiff Glynn Hartt, by and through his undersigned
counsel, hereby seeks final approval of the Class Action Settlement preliminarily approved by
this Court by Order docketed February 3, 2011 (Doc. No. 41). Notice has been provided as
ordered; no objections, and only one request for exclusion has been received. The settlement is
fair, reasonable and serves the best interests of the Class. For these reasons and those set forth in

the accompanying Memorandum, Final Approval should be granted.

Date: 3/30/11 /s/ Cary L. Flitter
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

GLYNN HARTT, individually and on behalf
of all others similarly situated,

Plaintiff
vs. CIVIL ACTION NO. 10-CV-00822(NS)

FLAGSHIP CREDIT CORPORATION,

 

Defendant.

 

PLAINTIFF'S MEMORANDUM OF LAW IN SUPPORT OF
MOTION FOR FINAL APPROVAL OF CLASS ACTION SETTLEMENT

1. INTRODUCTION

Representative Plaintiff Glynn Hartt (“Hartt”), by counsel, hereby submits this
memorandum in support of his Motion for Final Approval of Class Action Settlement. The
terms and conditions are set forth in the Settlement Agreement executed January 4, 2011 (the
“Settlement Agreement”), a copy of which was presented to the Court and preliminarily
approved by Order entered February 3, 2011 (Doc. No. 41). The Settlement Agreement is
attached hereto as Exhibit 1. The Agreement calls for over $13,785,000.00 in monetary relief
plus valuable equitable type relief correcting the Class Members’ consumer credit reports.

On February 9, 2011, in accordance with this Court’s preliminary approval Order, the
Notice of Proposed Class Action Settlement (the “Notice”) was mailed to 913 individual Class
Members in Texas whose names appear on Defendant’s records. (See Affidavit of Risa Neiman
of RSM McGladrey, Inc., Class Administrator, in connection With Notice by Mailing, dated
March 30, 2011, attached hereto as Exhibit 2). The Notice informed Class Members of the terms
and benefits the settlement proposes, and that they had the right to exclude themselves from the

Class or object to the settlement by March 26, 2011. (See Class Notice, Exhibit 3 hereto). The

 
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Notice also advised Class Members that Plaintiff would be applying for an award of attorneys’
fees of up to $925,000.00 and costs up to $20,000.00, subject to review and approval of the
Court. (See id.). Plaintiff moves contemporaneously for an award of Class Counsel fees and
costs.! As of the date of this Motion, only one Class Member has requested to be excluded
from the settlement and no objections have been received to either the overall settlement or Class
Counsel fees and expenses. (See Exhibit 2, Neiman Afft).

As discussed below, the settlement is fair and reasonable and is in the best interests of the
Class. The settlement, as proposed, satisfies all of the criteria that courts routinely apply in this
Circuit for the approval of class action settlements.
IL. NATURE OF THE LITIGATION
Violations of the UCC’s Notice Provisions Asserted by Plaintiff

Hartt brought a class claim against defendant Flagship Credit Corporation (“Flagship”)
pursuant to Texas’s Uniform Commercial Code (“UCC”) Flagship is a Pennsylvania-based
automobile finance company that maintained a substantial auto loan portfolio in Texas. After a
borrower’s default, Flagship would repossess and then sell the borrower’s vehicle according to
its retail installment sales contracts (“RISCs”) with borrowers and subject to the requirements of
Texas law, including the UCC.

The UCC provides notice requirements that a finance company, such as Flagship, must
follow if it wishes to employ self-help repossession. Unlike foreclosure of homes, for example,

which requires the procedural safeguards of notice and a hearing, self-help repossession allows a

 

! For convenience, and because the two Motions are interrelated and to be considered at the April 13, 2011

hearing, Plaintiff has prepared a singular, consolidated appendix of exhibits, (a courtesy copy of which shall be
delivered to Chambers).

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The Texas legislature refers to that state’s UCC as the Texas Business and Commerce Code. For
consistency, Plaintiff may continue to refer to the Act as the UCC or Code, while proper citation is to Tex. Bus. &
Com. Code.

 
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secured creditor to take a consumer’s property without judicial oversight. Article 9 of the UCC
imposes a strict notice regime on lenders such as Flagship to provide borrowers important
information after repossession and prior to the sale of the consumer’s vehicle at auction. Tex.
Bus. & Com. Code § 9.611-9.614. The requirements of Article 9 act as statutory safeguards to
ensure that lenders operate according to law during repossession and give adequate and proper
notice of the sale of the repossessed vehicle after it has been taken from the borrower. See
Knights of Columbus Cred. Union v. Stock, 814 S.W.2d 427, 430 (Tex. App. 1991) (purpose of
statutory notice “is to allow the debtor an opportunity to protect his interests in the collateral.”).
As stated by one federal court, the safeguards of Article 9 exist “to police lenders” who engage
in self-help and to deter violations of the law. Chisholm v. TranSouth Fin. Corp., 194 F.R.D.
538, 551 (E.D. Va. 2000).

The Class Complaint here alleged, among other things, that Flagship repossessed and re-
sold vehicles belonging to the Plaintiff and the Class in a manner that violated the Texas UCC’s
notice provisions as well as the parties’ retail installment contract. Specifically, Hartt asserts that
Flagship’s notice:

(1) Gave an unreasonably short notice period before sale. Tex. Bus. & Com. Code §

9612. Flagship’s contract provides that “we will send you notice at least 10 days before we sell

 

it.” (Contract or RISC, Exhibit “4” hereto). However, the Notice says Hartt’s car would be sold
“at a private sale or auction within 10 days from the date of this letter.” (See Repo Notice,
Exhibit “5” hereto, emphasis added).

(2) Fails to advise, as the statute requires, that the “debtor is entitled to an accounting
of the unpaid indebtedness, and ... the charge, if any, for an accounting.” Tex. Bus. & Com.

Code §9.613(1)(D) (actionable under 9.614(1)(A)).

 
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(3) Fails to provide the required “description of any liability for a deficiency.” Tex.
Bus. & Com. Code § 9.614(1)(B). This means that Mr. Hartt (and the Class) was not told that he
would be held responsible for any shortfall after Flagship applied the proceeds from the auction
of his car.

Flagship sent similarly deficient notices to some 912 other Texas borrowers who
comprise this settlement class. The vast majority were sent a notice identical to that sent to
Hartt, i.e. a form notice with the three UCC deficiencies noted above. (Exhibit “S”). Others were
sent a form notice lacking in one or two of those respects. (See Plaintiff's Renewed Motion for
Certification of Settlement Class and for Preliminary Approval (Doc. No. 36) at p. 6 and cited
exhibits). Plaintiff asserts that al/ of the notices sent to the Class during the four year class
period violate the UCC’s requirements in one or more ways.

Plaintiff sought damages under the UCC in the statutory amount of “the credit service
charge plus 10% of the principal amount of the obligation,” see Tex. Bus. & Com. Code §
9.625(c)(2). Flagship has denied liability in the matter. It asserted among other things that the
Texas Courts have not spoken directly to the violations claimed, that some putative Class
Members should be excluded for a variety of reasons and that deficiency claims are not
necessarily barred even if the notice is bad.

Procedural History, Discovery and Settlement

On December 10, 2009, Hartt filed his Class Action Complaint in the Court of Common
Pleas of Philadelphia County. Flagship then removed the case to this Court on the basis of
jurisdiction under the Class Action Fairness Act of 2005 (“CAFA”), 28 U.S.C. §1332(d), 1453,
and 1711-1715. An Amended Complaint was filed in this Court on March 10, 2010. (Doc. No.

4).

 
 

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Shortly after removal, the Court sua sponte scheduled an evidentiary hearing for April
12, 2010, to examine whether there was CAFA jurisdiction and if so, whether the matter should
be transferred to a federal court in Texas. David Bertoncini testified for Flagship. The Court
received hearing memoranda and argument of counsel. At the conclusion of the hearing, the
Court asked both sides to brief potential issues of first impression under Texas law and the UCC.
The parties did so. (Doc. No. 18 and 20). These issues, some of which were fundamentally tied
to the relief sought by Plaintiff and the Class, included whether Flagship could seek alleged
deficiency balances owed by Class Members as a set-off to any potential Class recovery or
whether Texas’s “absolute bar” rule would prohibit the collection of the deficiencies, and
whether “substantial compliance” with the UCC’s notice requirements was sufficient to meet the
requirement for adequate notice. After evaluating the parties’ legal positions on these matters,
the Court found subject matter jurisdiction was established, and that the substantive UCC issues
were not first-impression issues under Texas law. Finding no compelling reason to transfer, the
Court retained venue. See Hartt v. Flagship Credit Corp., 2010 WL 2736959 (E.D. Pa. July 8,
2010).

Thereafter, the parties engaged in copious discovery. Flagship deposed Mr. Hartt and his
daughter Jessica Sampson here in Philadelphia. Plaintiff deposed David Bertoncini and former
Flagship manager, Dan Dissen. Written discovery was exchanged. Flagship produced some
1230 loan files containing some 70,000 pages of documents. Class Counsel reviewed,
catalogued and organized this evidence for its use in litigation or settlement. A review of the
loan files enabled Class Counsel to understand the Class size, the number and variety of RISCs

in use, how many notices were non-conforming, the scope of damages, the claimed deficiency

 
 

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balances, potential exclusions (bankruptcies, etc.) and the like. (See Milz Certification, Exhibit
11, at ¢ 16).

The parties later agreed to submit their controversy to mediation in an effort to reach
settlement, if possible. The class certification briefing was stayed once and a mediation was
arranged for October 7, 2010 in front of retired U.S. Magistrate Judge Diane Welsh at JAMS. A
week before the mediation, the parties exchanged mediation memoranda which included detailed
spreadsheets and graphs related to the repossession notices and the makeup of the Class.

On October 7, 2010, the parties and counsel met for a nearly 12-hour mediation session
before Judge Welsh. There were many points of contention at the mediation. These involved
class size, which notices may violate (and which may not), and issues of what Texas law
controlled certain aspects of the case. In particular, the parties disagreed over Flagship’s
entitlement to alleged deficiency balances against Hartt and the Class for amounts Flagship said
were owed after auction sale of the repossessed cars. Flagship contended that these deficiencies
acted as a set-off to any Class recovery. Plaintiff disagreed and asserted that Texas law provides
for an “absolute bar” where the notice of disposition was unreasonable under the UCC, citing the
Court’s earlier ruling. Flagship did not agree and asserted that the order on transfer was merely
interlocutory and any substantive holding subject to revision.

Independent from the merits of the liability and damages arguments, there were
collectability concerns, as Flagship’s witnesses testified the company recently had major layoffs,
that it sold off or returned much of its portfolio of loans and its future was uncertain. (See Depo.
of Dan Dissen, Sept. 20, 2010, pp. 25-27, Exhibit “6” hereto). Also, on the eve of mediation,
Plaintiff was alerted to a coverage dispute between Flagship and its insurance carrier that

threatened coverage for Plaintiffs claims. By the end of the day, the mediation was successful

 
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and the parties had reached an agreement in principle. After many drafts and edits, the parties
reached a formal Settlement Agreement which the parties signed.

Plaintiff filed his unopposed Motion for Preliminary Approval of Class Action
Settlement on November 19, 2010. Thereafter, the parties met for a conference with the Court
on December 14, 2010. The parties decided to make several changes to their settlement terms
and signed a revised Settlement Agreement. On January 5, 2011, Plaintiff filed a Renewed
Motion for Preliminary Approval (Doc. No. 36) and Motion for Appointment of Class
Settlement Administrator (Doc. No. 37). By Order docketed February 3, 2011, the Court
granted preliminary approval, including approval of Notice to the Class. (Doc. No. 41).

On February 9, 2011, Notice in the form approved by the Court was mailed to 913
individuals whose names appeared in Flagship’s records as being members of the Class. (See
Neiman Aff’t, Exhibit 2). As of the date of this Motion, March 30, 2011, there have been no
objections and only one request for exclusion. (See id. at §{]8-9). A final approval hearing is
scheduled for April 13, 2011 at 2:00 P.M. before the Honorable Norma L. Shapiro.

II. NATURE OF SETTLEMENT

This settlement, if finally approved, will provide over $13.785 million in aggregate
monetary relief to the Class plus valuable equitable relief in the form of credit report correction.
The significant terms of the class-wide settlement are as follows:

1. Flagship has paid $2,500,000.00 into a settlement fund. Those funds will be used

to pay Class Members, Class Counsel fees and costs, and administration expenses. (See

Settlement Agreement, Exhibit “1” at 2.05).

2. Flagship will release all Class Members with a post-repossession sale deficiency

balance claimed due by Flagship. These aggregate deficiency balances to be released via

the settlement sum to $11,285,934.66. (Settlement Agreement at {| 5.02; see also
Settlement Agreement at p. 3 (valuing deficiencies)).

 
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3. Flagship will satisfy any outstanding monetary judgments it presently holds
against Class Members related to claimed deficiency balances due. Pursuant to the
settlement, Flagship will use its reasonable best efforts to see to it that any judgments
previously entered against Class Members have been satisfied or released (Settlement
Agreement at 2.09).

4. Flagship will advise all consumer reporting agencies to whom it reports to either
delete entirely any tradeline from the Class Members’ credit reports or to report the
account balances of Class Members as settled with a zero balance owing on their credit
reports (Settlement Agreement at { 2.08a).

5. Flagship will cease all collection activity on any deficiency balance allegedly
owed by Class Members (Settlement Agreement at {] 2.08b).

The essential terms of the settlement are set out in the Settlement Agreement attached
hereto as Exhibit 1.

The settlement assures that Class Members may each promptly receive a cash payout
between $330.00 and $3,300.00 per Class Member, depending on the sum of the “finance
charge” plus 10% of the “amount financed” readily identifiable from his/her or her RISC. As set
forth in the Settlement Agreement:

The Pro Rata Share shall be computed by dividing a Class Member’s individual

“Statutory Sum” as defined in paragraph [1.21] above by the aggregate total of all

Class Members’ “Statutory Sums,” and then multiplying that percentage by the

amount of the Settlement Fund (after the deduction of the payment of approved

Class Counsel fees and costs, and notice and administration costs). For example,

Mr. Hartt’s Statutory Sum is $17,468.84 and the aggregate total of all Class

Members’ “Statutory Sums” is $13,434,831.29; assuming that the Court approves

the full amount of Class Counsel fees and costs, and notice and administration

costs requested, Mr. Hartt’s Pro Rata Share to be paid is approximately $1,987.95.

Ex. 1, at §2.05(c).

For example, Mr. Hartt’s share in the pro rata recovery is illustrated below:

 
 

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$17,468.84 0.13% $1,987.95

 

 

In some ways, this settlement represents a better result than could have been achieved
through completely successful litigation, when considering the magnitude of the debt
cancellation and the equitable type relief obtained in correcting negative credit reporting,
discussed infra.

The parties represent that the proposed settlement was reached through extensive arms-
length negotiations, that the substantive terms of the Settlement Agreement were negotiated
vigorously and through zealous advocacy, and that Class Counsel is experienced and well-
qualified to evaluate the proposed Settlement Agreement on behalf of the Class Members. Class
Counsel recommends the settlement. (See Flitter Certification, 29, Exhibit 8).

The Notice that was sent to each individual Class Member (see Exhibit 3) is sufficient to
inform Class Members regarding: (a) the formation of the Class; (b) the Class definition; (c) the
terms of the proposed settlement; (d) the proposed request for an award of attorneys’ fees and
expenses to Class Counsel; (e) the proposed reimbursement for the expenses of the
Representative Plaintiff; (f) Class Members’ right to exclude themselves from the Class, and
thereby not participate in the proposed settlement; (g) Class Members’ right to object to the
proposed settlement; (h) the time and date of the Final Approval Hearing; and (i) Class

Members’ right to appear at the Final Approval Hearing in favor of or in opposition to the

 
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proposed settlement. The Notice provides Class Members with sufficient information to make
an intelligent decision as to whether to remain in, exclude themselves, or object to the proposed
settlement.
IV. LEGAL ARGUMENT

A. Factors Bearing on Final Approval

Preliminary approval, granted by order docketed February 3, 2011, was the first of three
steps that comprise the approval procedure for settlement of a class action. At that time, the
Court found preliminarily that all the elements of Fed. R. Civ. Pro. 23 had been satisfied and
certified the Class for purposes of settlement. (See Order, Doc. No. 41). The second step was
the dissemination of notice of the settlement to all Class Members, which was carried out as the
Court directed. (Ex. “3”, Notice). The third step is the final approval hearing, scheduled for
April 13, 2011, at 2:00 p.m. See MANUAL FOR COMPLEX LITIGATION, FOURTH, § 21.63 (2004);
Mehling v. New York Life Ins. Co., 246 F.R.D. 467, 472 (E.D. Pa. 2007).

The question presented on a motion for final approval of a proposed Class Action
Settlement is whether the proposed settlement is fair in light of the following factors:

(1) the complexity, expense and likely duration of the litigation ...; (2) the

reaction of the Class to the settlement ...; (3) the stage of the proceedings and the

amount of discovery completed ...; (4) the risks of establishing liability ...; (5)

the risks of establishing damages ...; (6) the risks of maintaining the Class action

through trial ...; (7) the ability of the defendants to withstand a greater judgment;

(8) the range of reasonableness of the settlement fund in light of the best possible

recovery ...; (9) the range of reasonableness of the settlement fund to a possible

recovery in light of all the attendant risks of litigation...
Girsh v. Jepson, 521 F.2d 153, 157 (3d Cir. 1975); First State Orthopaedics v. Concentra, Inc.,
534 F. Supp. 2d 500, 517-18 (E.D. Pa. 2007) (Shapiro, S.J.). After Girsh, the Third Circuit has

suggested additional factors to consider: (a) the pleadings, settlement negotiations, and the Class

certification motion have developed the underlying substantive issues such that all parties may

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assess the merits of the claims and defenses; (b) members of the Class have had a sufficient
opportunity to opt out of the settlement; (c) the award to the Representative Plaintiff is fair,
adequate and reasonable; and (d) the procedures for processing the individual claims under the
settlement are fair and reasonable. In re Prudential Ins. Co. of Am. Sales Practice Litig., 148
F.3d 283, 323 (3d Cir. 1998).

The Third Circuit has instructed district courts to “make findings as to each of the nine
Girsh factors in order to approve a settlement as fair, reasonable, and adequate, as required by
Rule 23(e).” In re Pet Food Prods. Liab. Litig., 629 F.3d 333, 350 (3d Cir. 2010). “The factors
[ ] identified in Prudential are illustrative of additional inquiries that in many instances will be
useful for a thoroughgoing analysis of a settlement’s terms.” Jd. An evaluation of the relevant
factors demonstrates that the settlement here fits well within the range of reasonableness.

1. The Complexity, Expense and Likely Duration of the Litigation

This first Girsh factor “captures the probable costs, in both time and money, of continued
litigation.” Warfarin Sodium Antitr. Litig., 391 F.3d 516, 535-36 (3d Cir. 2004). Absent this
settlement, expensive litigation would continue. Flagship maintains inter alia, it has not violated
the UCC, that the statutory damages are subject to setoff, and that some putative Class Members
should be excluded from the Class.

If this case were to continue, there would need to be contested Class certification practice
and argument over whether particular Class Members should or should not be excluded for
reasons such as arbitration or vehicle usage. Dispositive motions would be filed as to liability
and available damages recoverable under the UCC, and costly pre-trial briefing and trial
preparation on both sides would be necessary. Given Defendant’s counterclaim and position that

Plaintiff and the Class owe deficiencies, the Court would have to rule conclusively whether the

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claims are barred, and procedurally whether they could possibly attach to this litigation. In the
meantime, the Class Members would be forced to wait out this litigation — and continue to suffer
the impact of the adverse credit reporting pendent lite. It is unlikely here that more litigation
would result in more value to the Class.

Avoidance of this unnecessary expenditure of time and resources benefits all parties and
is to be encouraged. See In re Gen. Motors Pick-Up Trust Fuel Tank Prods. Liab. Litig., 55 F.3d
768, 812 (3d Cir. 1995) (concluding that lengthy discovery and ardent opposition from the
defendant were facts favoring settlement, which offers immediate benefits and avoids delay and
expense). As a result of the settlement, all issues in this litigation will be resolved once and for
all.

2. The Reaction of the Class to the Settlement

As set forth above, 913 notices were mailed to members of the Class advising them of the
terms of the settlement and their right to object or exclude themselves from the Class. (See
Afft, Exhibit “2”). The deadline for Class Members to exclude or to object was March 26,
2011. (See id.). According to Settlement Administrator RSM McGladrey, as of March 29, 2011,
only one Class Member had exercised the right to exclude themselves. Significantly, no Class
Member has filed nor served counsel with an objection to any aspect of the proposed settlement.
(d.).

The fact that there was only 1 request for exclusion and 0 objections out of over 913
mailed notices is convincing evidence of the proposed settlement’s fairness and adequacy. See
Serrano v. Sterling Testing Sys., 711 F. Supp. 2d 402, 418 (E.D. Pa. 2010) (“no Class Member
has objected to the settlement or to the requested fee, which evidences both a satisfactory result

and a reasonable fee”); In re Rite Aid Sec. Litig., 269 F. Supp. 2d 603, 608 (E.D. Pa. 2003) (the

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absence of any objection and de minimis requests for exclusion tips “heavily in favor of a strong
presumption of fairness”); see also Stoetzner v. U.S. Steel Corp., 897 F.2d 115, 118-19 (3d Cir.
1990) (noting the second Girsh factor “strongly favor[ed]” settlement where only 29 of 281
Class Members objected). The unanimous, positive reaction of the Class here weighs heavily in
favor of the proposed settlement.
3. The Stage of the Proceedings and the Amount of Discovery Completed

For a settlement to be approved, the parties must have an “adequate appreciation” of the
merits of the case. In re Prudential, 148 F.3d at 319. The settlement here comes only after
Plaintiff obtained sufficient discovery to evaluate important aspects of this case, including: the
prospects of the case for Class certification, the likelihood of contentious motion practice related
to liability and Class certification, the potential for a trial on the merits and subsequent appeal
(all with attendant briefing), the likelihood of additional discovery and motion practice, and the
projected time and cost associated with lengthier settlement negotiations to resolve the matter.

Plaintiff proffered and Defendant, in turn, answered (with some objection) interrogatories
and request for documents. Flagship produced over 70,000 pages of documents in the loan files
of over 1230 Texas consumers. (Not all repossession Notices were non-compliant and some
borrowers were no longer resident in Texas, yielding the 913 Class Members within the
parameters of the Class definition). Class Counsel spent over 430 man-hours in the painstaking
review and cataloging of each borrower’s file — analyzing, inter alia, the retail installment sales
contract, notice of disposition, deficiency calculation, and other important documents. (See
Flitter Certification, { 25; Milz Cert. at § 16). This was required to evaluate whether Flagship’s
notice to that consumer violated the UCC, if so, the statutory damages to which they were

entitled, and finally, whether one or more of Flagship’s asserted defenses — arbitration,

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bankruptcy, etc. — applied to each prospective Class Member. From this discovery, Plaintiff was
able to identify the common claim of improper notice and able to identify the total statutory
damages at play in the case.

There were four depositions. Flagship deposed Glynn Hartt and his daughter, Jessica
Sampson (for whom Mr. Hartt bought the car that was ultimately repossessed). Plaintiff deposed
Flagship’s representative, David Bertoncini and Daniel Dissen. From these latter depositions,
Plaintiff learned why Flagship’s notices of disposition were defective in different respects,
largely as a result of changes made by particular repossession personnel at Flagship. Through
these depositions, Plaintiff first learned that Flagship has viability concerns, thereby injecting
collectability into the litigation calculus.

What is certain is that continued litigation would have forced all these issues to the fore
and resulted in contentious certification and merits motion practice, rather than the safe and
secure deposit of funds into a local bank — which is what has happened here as a result of the
settlement.

The parties approached settlement with a full appreciation of what discovery revealed and
what further litigation would entail. As a result of the parties’ efforts, the litigation had reached
the critical stage where “the parties certainly [had] a clear view of the strengths and weaknesses
of their cases.” Reibstein v. Rite Aid Corp., --- F. Supp.2d ----, 2011 WL 192512 (E.D. Pa. Jan.
18, 2011); Bonett v. Educ. Debt Servs., Inc., 2003 WL 21658267 *6 (E.D. Pa. May 9, 2003).
This factor favors settlement.

4. The Risks of Establishing Liability

 

This factor surveys the possible risks of litigation in order to balance the likelihood of

success and potential damages against benefit of settlement. In re Prudential, 148 F.3d at 319.

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Plaintiff maintains that liability in this case is strong, i.e., that Defendant sent out form notices of
disposition of collateral which violated the UCC’s notice requirements. Under Plaintiff's theory
of the case, each of Flagship’s notice sent to members of the Class was lacking in at least one
respect as relates to those notice requirements. Plaintiff has asserted that if the notification sent
in a consumer goods transaction lacks any of the required information, it is insufficient as a
matter of law. See 66 Tex. Jur. 3d (Secured Transactions) § 334 (citing Official 1999 UCC
Comment 2 to § 9.614, Tex. Bus. & Com. Code); Knights of Columbus Cred. Union v. Stock,
814 S.W. 2d 427, 430-31 (Tex. App. 1991). Flagship argued otherwise. (See Def. Mem. of
Law, Doc No. 18 at 6-7).

Although Plaintiff is confident of his position, as with any civil case in this courthouse
there is no guarantee that Plaintiff would ultimately succeed on liability. This consideration
weighs neutral.

5. The Risks of Establishing Damages

Because Plaintiff's legal theory invoked statutory damages, Plaintiff does not believe that
damages would fail for reasons of e.g., causation. The greater risk in “establishing damages”
was aligned with collecting any damages (a factor intertwined with Girsh factor #7). As stated
above, there was the real threat here that establishing liability may very well be an empty victory
if the Class could not recover from Flagship. The finance company’s witnesses testified that the
firm has had major layoffs, that it sold off or returned most of its portfolio of loans and its future
was uncertain. (See Depo. of Dan Dissen, Sept. 20, 2010, pp. 25-27, Exhibit “6” hereto).
Immediately prior to mediation, Class Counsel was alerted to a coverage dispute between

Flagship and its insurance carrier. That dispute resulted in Flagship filing a complaint for

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declaratory judgment. Flagship Credit Corp. v. Indian Harbor Ins. Co., U.S.D.C. 8.D. Tx. No.
4:10-CV-3616.

Further, Flagship asserted throughout the case that it believed it had a legal right to set-
off the deficiency balances it alleged the Class Members owed after the sale of their vehicles.
While Plaintiff opposed this, and maintains he has the better of this argument in light of Texas’
“absolute bar” rule, the Court’s ruling could be reconsidered. It is unlikely that Plaintiff could
have secured through a verdict or court award the type of comprehensive, valuable award
secured through this settlement. This factor favors settlement.

6. The Risks of Maintaining the Class Action Through Trial

This Court certified a Class for purposes of preliminary approval (Doc. No. 41), but there
was not a certification on contest. The Supreme Court has recognized the utility of Class actions
in certain cases alleging consumer or securities fraud or violations of antitrust laws. Amchem
Products, Inc. v. Windsor, 521 U.S. 591, 625 (1997). This consumer protection case fits that
mold, and Plaintiff refers the Court to his discussion of the elements of Rule 23 discussed in his
Motion for Preliminary Approval (Doc. No. 36).

During this litigation, Flagship raised the possibility that some Class Members should be
excluded on account of their file containing a document bearing an arbitration clause or class
action waiver. Arbitration clauses have resulted in the undoing of other class action cases. See
e.g. Gay v. CreditInform, 511 F.3d 369 (3d Cir. 2007). In theory, this could result in some Class
Members being excluded.’ For his part, Plaintiff contends that many of these files contained
similarly-worded clauses that could be knocked-out by a uniform legal attack focusing on scope

and substantive defects. In the same vein, Flagship contended that other Class Members should

 

3 Plaintiff believes that many of these dealer agreements carried arbitration clauses that did not extend to

assignees (like Flagship). But, litigation en masse over arbitration clauses is a potential impediment to certification
on contest.

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be excluded because they: waived their right to notice, had an out-of-Texas address in their files,
did not receive the (allegedly defective) notice, or filed bankruptcy. Settlement eliminates the
need to litigate these potential individualized issues which might have posed a threat to
certification. This Girsh factor favors approval of the settlement.
7. The Ability of the Defendant to Withstand a Greater Judgment

This settlement calls for Defendant to pay a total of $2.5 million in cash (already on
deposit), to erase over $11.285 million in claimed deficiencies, and to correct negative credit
reporting on the Class Members. It is unclear whether Flagship could have withstood a greater
damage amount sustained at trial. As discussed under Girsh factor #5, supra, very real concerns
about Flagship’s viability and the potential for no insurance coverage arose over the course of
the litigation. Even a “greater” damages award may not have rendered a net greater benefit to the

consumers in this Class. This factor weighs in favor of settlement.

8. Girsh Factors (8) The Range of Reasonableness of the Settlement in Light of
the Best Possible Recovery & (9) The Range of Reasonableness of the
Settlement to a Possible Recovery in Light of all the Attendant Risks of

Litigation
An assessment of the reasonableness of a proposed settlement requires analysis of the
present value of the damages a plaintiff would likely recover if successful, appropriately
discounted for the risk of not prevailing. Jn re Prudential, 148 F.3d at 322. “Settlement
represents a compromise in which the highest hopes of recovery are yielded in exchange for
_ certainty and resolution and courts should guard against demanding too large a settlement based
on the court’s view of the merits of the litigation.” In re Safety Components Int’l, Inc. Sec. Litig.,

166 F. Supp. 2d 72, 92 (D.N.J. 2002) (internal citation omitted).

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The best possible recovery on Plaintiffs claim that Defendant’s repossession notices
violated Texas law would be that Defendant would be required to pay statutory damages of
approximately $13.434 million dollars (the total aggregate statutory damages of the 913 Class
Members, without considering exclusion of any Class Members for assorted reasons). Compared
to this, the value of this settlement exceeds this “home run” amount, when factoring the
cancelled deficiency balances, even before taking the valuable credit repair into the equation.
The settlement provides $13.785 million in monetary relief by a common fund in the substantial
amount of $2,500,000 in cash and $11,285,934 in debt forgiveness. Plaintiff recognizes that debt
cancellation or waiver is extremely valuable to some, less to others. However, a pure UCC
remedy would not have necessarily eliminated any Class Member’s “deficiency”. A deficiency
could have acted as a “set-off” to any relief should Flagship have had its way.

Significantly, the settlement also calls for the removal of Flagship’s negative entries on
the Class Members’ credit reports. While this relief is not as easily quantifiable as the cash
settlement fund or the debt cancellation, it provides a tangible and valuable award to each Class
Member. As stated in the expert opinion of David Stivers, attached hereto as Exhibit 7, the
credit relief contemplated by this settlement will improve the credit rating of all the Class
Members and allow them to likely enjoy more favorable borrowing options and interest rates in
future credit opportunities. (See generally id. at p. 7 of report).

Specifically, Mr. Stivers opines that the credit repair contemplated by this settlement will
positively impact Class Members’ attempts to attain a loan or mortgage, increase their ability to
apply for insurance at favorable rates, reduce occurrences of “adverse actions” based on negative
credit, and generally increase their credit scores. (See id. at passim). This is because removal of

the negative entry would improve the consumer’s risk profile in the credit grantor’s eyes. Prior

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to the class member’s “charge off’ entry being removed, prospective lenders would view this
negative notation as a sign of a credit risk and assign a correspondingly higher interest rate. (Id.
at 9). Removal of the “charge off” notation will result in a higher credit score and a potentially
lower risk perceived by the lender -- resulting in a potentially lower interest rate. (See id. at 9-
10). Of course, each Class Member will benefit differently depending on his or her individual
credit situation, but all will obtain substantial relief through the credit improvement.

The cash awards and debt cancellation, coupled with valuable credit reparations and
satisfaction of outstanding judgments against Class Members constitutes relief valued at well
over $13.785 million and makes this settlement on par with, or better than, the best-case trial
scenario of $13.434 million. Of course, a final litigated resolution could be years away with
uncertainty throughout trial and appeal — and uncertainty over collectability.

As set forth in the chart in Section III above, the settlement assures that Class Members
may each promptly receive a cash payout between $330.00 and $3,300.00 on a pro rata basis
tethered directly to the statutory damages of Section 9.625, i.e., the “finance charge” and 10% of
the “amount financed” readily identifiable from his/her or her RISC. (Exhibit 1, at §2.05(c)).
Again, there is real value in immediate corrections to the consumer credit reports and satisfaction
of judgments already obtained. In Jn re Greenwich Pharmaceutical Securities Litigation, 1995
WL 251293 (E.D. Pa. April 26, 1995), the court held in finding a $4.3 million settlement within
the range of reasonableness where plaintiff's estimate of damages was $100 million (Ze., 4.3% of
best case scenario):

[P]laintiffs’ most optimal estimate must be tempered by Defendants’ repeated

and vigorous claim of no damages. When the probability of success at trial is

factored into the equation, the settlement is obviously “within the range of
reasonableness.”

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Class Counsel endorses this settlement because it is very favorable for the Class in light
of the collectability issues, and the nature of the violation and the immediate equitable-type relief
it provides. The opinion of experienced Class Counsel that settlement is in the best interest of
the Class is entitled to “significant weight.” Lake v. First Nationwide Bank, 900 F. Supp. 726,
732 (E.D. Pa. 1995). These factors bring the proposed settlement well within the range of
reasonableness, and indeed point to an excellent settlement — one that should be approved.

9. Additional Factors

In considering the relevant factors discussed in In re Prudential, 148 F.3d at 323, and this
record (see the foregoing discussion), the Court should find that (a) the pleadings, settlement
negotiations, and the examination of factors related to potential Class certification have
developed the underlying substantive issues such that all parties appreciate the merits of the
claims; (b) members of the Class have had a sufficient opportunity to opt out of the settlement;
(c) the award to the Representative Plaintiff, discussed below, is fair, adequate and reasonable;
and (d) the easy procedures for processing the Class Member claims under the settlement are fair
and reasonable. This settlement payment requires no claim form. The settlement checks will be
mailed to the Class Members. The relief will be scaled to reflect a uniform percentage of each
member’s statutory damages under the Code. And, there is no reverter of any undistributable
funds to Flagship. (Exhibit 1, Settlement Agreement at § 2.05). Again, the absence of any
objection speaks persuasively for this settlement.

In conclusion, all of the factors discussed above weigh in favor of, or weigh neutral

towards approval of the settlement of this Class Action.

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B. Expense Reimbursement to Mr. Hartt

The Settlement Agreement calls for Mr. Hartt to receive his pro rata share of the
settlement find, and also calls for him to be paid the reasonable expenses he incurred in acting as
Representative Plaintiff. Mr. Hartt personally met with counsel in Texas and Pennsylvania,
engaged in numerous phone conversations about the status of the case, sat for a deposition,
attended the day-long Mediation in Philadelphia, and generally went out of his way to serve the
best interest of the Class at his own expense. In order to do so, Mr. Hartt was compelled to use
sparse vacation time from work and spend sums of his own money. Although no Class
Representative incentive award is being sought, expense reimbursement is. As set forth in the
Certification of Glynn Hartt (Exhibit 14 hereto), Mr. Hartt’s expenses of $1,260.00 were
incurred, are reasonable and necessary, and should be approved. See First State Orthopaedics,
534 F. Supp. 2d at 524 (“Reasonable payments are permissible to compensate named plaintiffs
for the expenses they incur during the course of class action litigation.”).

C. CyPres

Courts have long recognized the utility of cy pres remedies, particularly for
undistributable funds and in consumer protection cases such as this where individual claims of
the Class Members are relatively small. See e.g., Perry v. FleetBoston Financial Corp., 229
F.R.D. 105, 117 (E.D. Pa. 2005). As of this writing, with the use of several locator databases
there are about 50 undeliverable class notices. (See Afft of Risa Neiman of RSM McGladrey,
Inc., Exhibit 2). In the event there are any uncashed checks distributed pursuant to the terms of
the Settlement Agreement, those funds shall also be donated as a cy pres distribution in equal
parts to Philadelphia Legal Assistance, the University of Houston Center for Consumer Law and

Texas Rio Grande Legal Aid for use in consumer credit education and counseling and similar

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uses. (See Exhibit 1, Settlement Agreement., at 4 3.05). These institutions are worthy
beneficiaries. Mr. Hartt endorses this cy pres and Defendant concurs.
V. CONCLUSION
For the reasons detailed herein, Plaintiff Glynn Hartt respectfully requests that this Court
grant his motion for final approval of this Class action settlement.

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

GLYNN HARTT, individually and on behalf
of all others similarly situated,

Plaintiff
vs. CIVIL ACTION NO. 10-CV-00822(NS)
FLAGSHIP CREDIT CORPORATION,

Defendant.

 

 

 

CERTIFICATE OF SERVICE

I hereby certify that on March 30, 2011, I electronically filed the foregoing with the Clerk

of Court using the CM/ECF system which sent notification of such filing to:

Marc J. Sonnenfeld, Esquire
John P. Lavelle, Jr., Esquire
Iddo Harel, Esquire
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Said document is available for viewing and downloading from the ECF system

Date: 3/30/11 /s/Cary L. Flitter
CARY L. FLITTER

 
